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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES − GENERAL

 Case
 No.: 2:17−cv−05999−CAS−PJW                            Date: 12/21/2017
 Title: SUTRA BEAUTY, INC. V. H AND A MARKETING AND SALES INC. ET AL

 Present: The Honorable CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
        Catherine M. Jeang                           N/A                                N/A
        Deputy Clerk                        Court Reporter/Recorder                    Tape No.

             Attorneys Present for Plaintiffs:              Attorneys Present for Defendants:
                      None appearing                               None appearing
 PROCEEDINGS:             (IN CHAMBERS) − ORDER SETTING SCHEDULING
                          CONFERENCE
       This matter is set for a Scheduling Conference on February 5, 2018, at 11:00 AM. The
 Scheduling Conference will be held pursuant to F.R.Civ.P 16(b). The parties are reminded of
 their obligations to disclose information and confer on a discovery plan not later than 21 days
 prior to the date of the Rule 16(b) Scheduling Conference and to report to the Court not later
 than 14 days after they confer on a discovery plan and the other matters required by
 F.R.Civ.P. 26(f) and the Local Rules of this Court.
       At the Rule 16(b) Scheduling Conference, the Court will issue an order setting forth at
 least the following dates: the last date for joining parties, the last date to file any motion,
 whether or not dispositive, and the last date to complete discovery. Scheduling Conferences
 will ordinarily not be continued.
        Failure to comply may lead to the imposition of sanctions.
      Judge Snyder is located at 350 West First Street Courthouse, in Courtroom 8D, on the
 eight floor.




                                                                     Initials of Preparer: cj




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